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                                                                 1 of12of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



In re:

Ford Fusion and C-Max Fuel Economy Litigation,           Case No. 13-MD-2450 (KMK)

This Document Relates to All Actions                     ORDER NUMBER 2




KENNETH M. KARAS, District Judge:

       At the Initial Conference held before the Court on July 25,2013, the Court adopted the
following Order:

       Notwithstanding the Court's instructions in Order Number 1, attorneys who are in good
standing in each state in which they are a member of the bar and who are admitted to practice in
any other U.S. District Court must apply to appear pro hac vice in this litigation. All such
applications should be made electronically on the ECF tiling system.

      This case is hereby withdrawn from inclusion in the Pilot Project Regarding Case
Management Techniques far Complex Civil Cases in the Southern District of New Yark.

        The Court hereby adopts Plaintiffs' proposal for the designation of Girard Gibbs and
Samuel Rudman as Lead Counsel; for the designation of John Yanchunis as Liaison Counsel;
and for the designation of Richard McCune, Jonathan Shub, Steven Jaffe, and Bruce Steckler as
Plaintiffs' Executive Committee.

        Plaintiffs shall file their Consolidated Complaint by no later than September 27, 2013.
Plaintiffs may submit document requests to Defendant for the specific categories of documents
described by the Parties on the record during the Initial Conference. Defendant must answer
Plaintiffs' document requests within thirty days of Plaintiffs' filing their Consolidated
Complaint. The Court will adopt a further discovery schedule after ruling on Defendant's
Motion To Dismiss.

       The Court adopts the Parties' proposed briefing schedule for Defendant's consolidated
Motion To Dismiss, and hereby waives the requirement that Defendant submit a premotion letter
requesting a premotion conference. Defendant shall file its Motion To Dismiss by no later than
November 22,2013. Plaintiffs shall file their consolidated opposition papers by no later than
January 21, 2014. Defendant shall file its reply in support of its motion by no later than March
7,2014. Sur-reply papers will not be accepted unless prior permission is given.
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      The Court also adopts the Parties' requested page limits for the Motion papers.
Defendant's Memorandum in support of its Motion To Dismiss and Plaintiffs' Opposition
Memorandum are to be no longer than fifty pages; Defendant's reply in further support of its
Motion To Dismiss is not to exceed twenty-five pages. Extensions shall not be granted.

       Any pending deadlines found in the Federal Rules of Civil Procedure or in any
applicable statute are hereby stayed until the date the motion is due.

        Courtesy copies are to be served upon counsel by the assigned date. One courtesy copy
of all papers also shall be sent to this Court at the time they are served upon opposing counsel.

        The Court will request oral argument after Defendant's Motion To Dismiss is fully
briefed. Please wait to hear from the Court to schedule argument.

SO ORDERED.
Dated:        White Plains, New York
              July 1() ,2013




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